
Order affirmed, with costs; no opinion.
Concur: Chief Judge Fuld and Judges Burke, Scileppi, Bergan, Breitel, Jasen and Gibson. *591citizen’s arrest of County Judge Lynn 1ST. Peterson, was charged with harassment in violation of section 240.25 (subds. 3, 5) of the Penal Law. Without condoning or making any determination with respect to the purported citizen’s arrest we find that the evidence is insufficient to establish beyond a reasonable doubt that defendant’s conduct in attempting the arrest constituted harassment or that his actions evidenced an ‘ ‘ intent to harass, annoy or alarm ”, within the meaning of the statute.
